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                               DIRECTTOU, LLC
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                          7
                          8                   IN THE UNITED STATES DISTRICT COURT
                          9                    NORTHERN DISTRICT OF CALIFORNIA
                          10   JONATHAN HOANG TO, individually )          CASE NO.: 3:24-CV-06447-WHO
                               and on behalf of all others similarly )
                          11   situated,                             )    [PROPOSED] ORDER
B AKER & H OSTETLER LLP




                                                                     )    APPROVING STIPULATION TO
   A TTORNEYS AT L A W




                          12               Plaintiff,                )    EXTEND DEFENDANT
      L OS A NGELES




                                                                     )    DIRECTTOU, LLC’S
                          13          v.                             )    RESPONSIVE PLEADING
                                                                     )    DEADLINE
                          14   DIRECTTOU, LLC,                       )
                                                                     )    [Filed concurrently with Stipulation]
                          15               Defendant.                )
                                                                     )    Action Removed:              09/12/2024
                          16                                         )    FAC Filed:                   10/01/2024
                                                                     )    Response Date:               10/21/2024
                          17                                         )    New Response Date:           11/04/2024
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                                                               [PROPOSED] ORDER APPROVING STIPULATION TO EXTEND DEFENDANT
                                                                             DIRECTTOU, LLC’S RESPONSIVE PLEADING DEADLINE
                                                                                                 CASE NO.: 3:24-CV-06447-WHO
                                Case 3:24-cv-06447-WHO Document 13 Filed 10/28/24 Page 2 of 2



                          1          The Court, having considered the Parties’ Stipulation to Extend Defendant
                          2    DirectToU, LLC’s Responsive Pleading Deadline (“Stipulation”) and for good cause
                          3    shown, rules as follows. IT IS HEREBY ORDERED that:
                          4          1.     The Stipulation is APPROVED.
                          5          2.     Defendant shall have up to, and including, November 4, 2024, to file a
                          6    response to the Plaintiff Jonathan Hoang To’s First Amended Class Action
                          7    Complaint.
                          8          IT SO ORDERED.
                          9
                          10   Dated: October 28, 2024
                          11                                         The Honorable William H. Orrick
                                                                     United States District Court Judge
B AKER & H OSTETLER LLP
   A TTORNEYS AT L A W




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                                                                 [PROPOSED] ORDER APPROVING STIPULATION TO EXTEND DEFENDANT
                                                                               DIRECTTOU, LLC’S RESPONSIVE PLEADING DEADLINE
                                                                                                   CASE NO.: 3:24-CV-06447-WHO
